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                                        IN THE UNITED STATES DISTRICT COURT
                                        FOR THE EASTERN DISTRICT OF VIRGINIA

       APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D)AND LOCAL
                                                          CRIMINAL RULE 57.4
                   In Case Number 3;19-cr-0013Q-MHL ,Case Name United States v. Chatrle
                   Party Represented by Applicant: Google LLC
To: The Honorable Judges ofthe United States Distiict Court for the Eastern District of Virginia
                                                    ~PERS0NAL-STATE1V®1T


FULL NAME(no initials, please) Alex Campbell Hemmer
Bar Identification Number 198279               State District of Columbia
Firm Name Wilmer Cutler Pickering Hale and Dorr LIP
Firm Phone# (202)663-6000               Direct Dial #(202)663-6387                              FAX# (202)663-6363
E-Mail Address alex.hemmer@wllmerhale,com
Office Mailing Address 1875 Pennsylvania Ave. NW,Washington, DC 20006

Name(s)of federal court(s) in which I have been admitted See attachment

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.


I hereby certify that, within ninety (90)days before the submission of this application, I have read the Local Rules ofthis Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am       am not ^ a full-time employee ofthe United States of America,and \isofreouest^xemptionfrom the admissionjje.
                                                                                      (Ap^icant's Signature)

U'the undersigFed;TloWrtify"thatram'araemberbfthe'bafoftKis CoWt,~notT^latedTo th^pp
personally, that the said applicant possesses all ofthe qualifications required for admission to the bar of this (3ourt; that I have
examined the applicant's personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

                                                                                                               12/20/2019
                                                   (Signature)                                                 (Date)
                                                   Brittany Amad\                                              80078
                                                            (Typed or Printed Name)                            (VA Bar Number)
Court Use Only:

Clerk's Fee Paid
                    / or Exemption Grant
The motion for admission is GRANTED                   or DENIED




                                  M.Hannah Lauck                                                    DEC 27 2019
                         (Judge's      States District Judge                                 (Date)
